Case No. 1:23-cv-01550-SBP Document 13-6 filed 07/17/23 USDC Colorado pg1of3

Neighborhond Services ; ' Ss
Code Enforcement/Animal Contré b ——
Incident Report Bennett -

Case#CE22-0019 Date/Time Reported: 5/17/22 4:40p Date/Time of Incident: 2/8/22

Location of Incident: 170 Coolidge Court Bennett County: Adams

Summons#: B6731 Charges: Unlawful Use or Acquisition | Court date: 6/22/22
(W-Witness, S-Suspect, V-Victim, RP-Reporting Party, T/O-This Officer)

S| Name: Eric Witt Phone:720-496-9912

Address: 170 Coolidge Court City/State/Zip: Bennett, CO 80102

d.o.b: Hair: Eyes: Height: Weight: Race:

W | Name: Robert Sherer Phone:303-349-4791

Address: 207 Muegge Way City/State/Zip: Bennett, CO 80102

d.o.b: Hair: Eyes: Height: Weight: Race:

W | Name: Mark Cowlishaw Phone: 303-501-6568

Address: 207 Muegge Way City/State/Zip: Bennett, CO 80102

d.o.b: Hair: Eyes: Height: Weight: Race:

Statement: May 17°, 2022 | was assigned as a Community Services Officer for the Town of Bennett. At approximately
4:A40p | was advised by Mrs. Trish Stiles, Town Administrator, that Mr. Eric Witt of 170 Coolidge Court, Bennett,
Colorado 80102 needed to be summoned to court for violating Town Municipal Code 13-3-80 Unlawful Use or
Acquisition (water). | initiated an investigation into the incident and determined the following:

February 8", 2022 Mr. Mark Cowlishaw and Mr. Robert Sherer shut off the water supply to 170 Coolidge Court,
Bennett, Colorado 80102 due to non-payment of the water bill. On May 17", 2022 Mr. Cowlishaw and Mr. Sherer
returned to the address and discovered the water had been turned back on at some point between the two dates. The
water was again shut off and an attempt, by Officer Keith Buono, was made to issue a summons to Mr. Witt but to no
avail. Mr. Witt was sent a summons by certified mail via the United States Post Office for a court date of June 22, 2022.
On May 23", 2022 | obtained Witness statements from Mr. Cowlishaw and Mr. Sherer pertaining to the incident at 170
Coolidge Court. They also advised that the water had been turned back on since the last shut off on May 17", 2022,
and that it had been shut off again with a lock being placed on it to prevent further tampering. This incident referred to
the Community Services Supervisor for further review.

Officer Signature: . Date:
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a7. PAGE 1

Town of Bennett - 207 Muegge Way: Bennett, CO 80102 - 303-644-3249 - townofbennett.colorado.gov
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Neighborhood Services
Code Enforcement/Animal Control
Witness statement

Case# CEQZ- OC Date/Time Reported: 5/17/22 4:40p | Date/Time of Incident: _~
A/8/ AP

Location of Incident: 170 Coolidge Court Type of Incident: Unlawful Use or Acquisition

(W-Witness, S-Suspect, V-Victim, RP-Reporting Party, T/O-This Officer)

WwW | Name: ° Phone:
Mark Cowlishaw S303~50!1-656%
Address: 207 Moye = Ee W ay City peatelcip: eT, Co Qols 4.
d.o.b: Hair: Eyes: Height: Weight: Race:
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Witness Signature: Date:

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Town of Bennett: 207 Muegge Way: Bennett, CO 80102: 303-644-3249 - townofbennett.colorado.gov
Case No. 1:23-cv-01550-SBP Document 13-6 filed 07/17/23 USDC Colorado pg 3 of 3

Neighborhood Services Bennettlll
Code Enforcement/Animal Control e
Witness statement
Case# CF BP “Oo [ 9 Date/Time Reported: 5/17/22 4:40p | Date/Time of Incident: A Gf Zo
Location of Incident: 170 Coolidge Court Type of Incident: Unlawful Use or Acquisition

(W-Witness, S-Suspect, V-Victim, RP-Reporting Party, T/O-This Officer)

W | Name: _ Phone:
Robert Sherer Bot- 34g - ¥74
Address: City/State/Zip: /
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d.o.b: Hair: "| Eyes: Height: Weight: Race:

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Witness Signature: Date:

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